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EXHIBIT E(4)
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GENERAL PRODUCT INFORMATION

SIRCHIE’s NARK® II Progressive System for Drug Identification is keeping pace
with the increasing demands of the Law Enforcement Community.

NARK® II has the capability of presumptively identifying several families of sub-
stances suspected of being abused drugs.

Designed to function as a transportable narcotics laboratory, it is available for
use wherever the need for its capability might arise.

Each of the tests is comprised of one or more chemical reagents based on Na-
tional Institute of Justice Standard 0604.01 and/or UN Standard ST/NR/13REV1.
When a predictable color or series of colors occur within a specific testing se-
quence, a positive identification may be presumed. This presumptive field test is
sufficient to bind the accused through a preliminary hearing.

There is no drug identification system presently in use which completely elimi-
nates the occurrence of false positives and false negatives. A forensic laboratory
is required to qualitatively identify an unknown substance.

Testing Capability
NARK® II provides for presumptive identification of the following groups of drugs:

* Cannabis Sativa L. * Hallucinogens * Stimulants
* Depressants * Narcotics

General Testing Protocol

The results of a single test may or may not yield the target confirmation. To mini-
mize the occurrence of a false positive or false negative, it is recommended that
the NARK® II Colorimetric Flow Chart be referenced as an assist in employing
the next step option to confirm the presence of a specific target drug.

Material or Substance Classification
* Hard Materials or Tablets—crush into powder form and begin testing with
NARK2001 Marquis Reagent.

* Capsules—carefully remove a portion of powder from the capsule and be-
gin testing with NARK2001 Marquis Reagent.

* Powders—begin with NARK2001 Marquis Reagent.

* Plant Material—use several at least 4" long particles and place into
NARK2005 Duquenois-Levine.

* Brown or Black Tar Heroin—place into NARK2011 Mecke’s Modified Re-
agent a size similar to the top of a pinhead.

* Liquid Samples should not be placed directly into the test pouch. Instead, wet
a piece of paper about 2" x V2" with two or three drops of the suspect liquid,
permit the paper to briefly air dry and then insert the paper into the pouch.
The ideal paper is filter paper. Other recommended papers are unscented,
uncolored facial or toilet tissue.

Recommended Amounts for Testing:
Other than the amounts described for Brown/Black Tar Heroin and plant mate-
rial, all powder should fit within this particular sized area C.

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3. After resealing the pouch with the clip, tap pouch to permit the material to
fall to the bottom of the pouch.

4, With the printed side of the pouch facing you, gently squeeze the center of
each ampoule with the tips of the thumb and forefinger and break the am-
poule.

Analysis of Generated Colors:
1. Break the 1st ampoule and agitate for approximately one minute. At this
point, no color is expected to be present.

2. Break the 2nd ampoule and agitate gently. Methadone’s presence is con-
firmed by the appearance of a bright blue color within 20 seconds.

NOTE: THIS TEST SHOULD BE USED IN CONJUNCTION WITH OTHER REAGENTS IN THE
NARK® II PROGRESSIVE TESTING SYSTEM.

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USE: PCP Methaqualone
Test 09 Instructions (Iwo ampoule Test):
1. Observe that both ampoules are clear and intact.
2. After removing clip, insert into the test pouch:
* PCP—5 to 10 grains of substance O
* Methaqualone—5 to 10 grains of substance O

3. After resealing the pouch with the clip, tap pouch to permit the material to
fall to the bottom of the pouch.

4, With the printed side of the pouch facing you, break ampoules from left to
right. Gently squeeze the center of each ampoule with the tips of the thumb
and forefinger and break the ampoule.

Analysis of Generated Colors:
1. Break the 1st ampoule and agitate for about 30 seconds. No color is expect-
ed at this point.

2. Break 2nd ampoule and agitate. A solid blue color will confirm the presence
of PCP and Methaqualone within 30 seconds.

NOTE: THIS TEST SHOULD BE USED IN CONJUNCTION WITH OTHER REAGENTS IN THE
NARK® II PROGRESSIVE TESTING SYSTEM.

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USE: Codeine, Heroin, Morphine, Oxycodone, Fentanyl!

Note: Refer to the NARK® II Progressive Testing System for other drugs Test 10 is

capable of pre-screening and identifying.

Test 10 Instructions (One Ampoule Test):

1. Observe that the single ampoule is clear and intact.

2. After removing the clip, insert into the test pouch a small amount of substance:
* Codeine—5 to 10 grains. O

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* Heroin—{white) 10 to 15 grains CJ, (brown) 5 to 10 grains Q,
(black tar) 2 to 3 grains. o

* Morphine—5 to 10 grains. O

* Oxycodone—5 to 10 grains. O

. After resealing the pouch with the clip, tap the pouch to permit the material

to fall to the bottom of the pouch.

. With the printed side of the pouch facing you, gently squeeze the center of the

ampoule with the tips of the thumb and forefinger and break the ampoule.

Codeine is indicated by an immediate blue color (within 5 seconds).
Heroin presents itself as an immediate red-violet color (within 5 seconds).
Morphine begins as an immediate red-violet color (within 5 seconds).
Oxycodone will present itself as a yellow color within 10 seconds.

NOTE: THIS TEST SHOULD BE USED IN CONJUNCTION WITH OTHER REAGENTS IN THE
NARK® II PROGRESSIVE TESTING SYSTEM.

Peed eel ae macs hy

USE: Heroin (white, brown, black tar)
Note: This test is suitable for all Heroin.

. Observe that both ampoules are clear and intact.

. After removing the clip, insert into the test pouch a small amount of substance:

* White Heroin—10 to 15 grains
¢ Brown Heroin—5 to 10 grains O
¢ Black Tar Heroin—2 to 3 grains o

. Reseal pouch with clip and tap pouch to permit the material to fall to the bot-

tom of the pouch. Note: Use the loading device to transfer a pinhead-size
amount of Black Tar Heroin to the lower portion of the pouch.

. With the printed side of the pouch facing you, break ampoules from left to

right. Gently squeeze the center of each ampoule with the tips of the thumb
and forefinger and break the ampoule.

. Break the 1st ampoule and agitate for 30 seconds. The presence of Heroin

is not indicated at this step by any particular color.

. Break the 2nd ampoule and agitate for 30 to 45 seconds. Heroin will gener-

ate a light green color and gradually intensify/darken over the ensuing pe-
riod of a minute.

Note: MDMA develops a purple color with the 1st ampoule and the color may vary
in the 2nd ampoule. If you observe a purple color, proceed to the NARK20015
Methamphetamine test. Heroin does not generate any particular color in the Ist
ampoule, and will only develop a green color with NARK20011.

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